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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA


GAGAN JYOTI JINDAL and
MANI GAGAN JINDAL
251 Kings Hwy Tappan NY 10983
                                       Case No.:

Plaintiffs,
                                       COMPLAINT
      vs.
KEVIN K. MCALEENAN, Secretary
of Homeland Security
245 Murray Lane SW
Washington, DC 20528
L. FRANCIS CISSNA, Director of the
United States Citizenship and
Immigration Services
20 Massachusetts Avenue, N.W.
Washington, DC 20529

MARK HAZUDA, Director of the
USCIS’s Nebraska Service Center, 850
S St, Lincoln, NE 68508

              Defendants.
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1                                      COMPLAINT
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                               DESCRIPTION OF ACTION
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           1. This complaint is brought by Gagan Jyoti Jindal and his wife Mani Gagan
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     Jindal against the Defendants to compel the Defendants to forward Mr. Jindal’s
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7    Petition for Alien Relative, Form I-130, upon behalf of his wife, back to the
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     National Visa Center for immigrant visa processing.
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                                      JURISDICTION

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           2. This being a civil action against the United States arising under the

14   Mandamus Act, 28 U.S.C. § 1361, and the Administrative Procedure Act, 5 U.S.C.
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     § 701 et seq., both laws of the United States, original jurisdiction over this matter
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     is vested in this Court by 28 U.S.C. § 1331.
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                              DESCRIPTION OF PARTIES
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20         3. GAGAN JYOTI JINDAL is a citizen and national of the USA who is
21   currently residing at 251 Kings Hwy Tappan NY 10983.
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23         4. MANI GAGAN JINDAL is a citizen and national of India, where she is

24   currently is present due to the USCIS’s undue delay of her husband’s petition upon
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     her behalf. However, she considers her home to be with her husband.

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3          5. The defendant, KEVIN K. MCALEENAN, is the Secretary of Homeland

4    Security, and as such has the authority to process Forms I-130. He resides for
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     official purposes in the District of Columbia.
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7          6. The defendant, L. FRANCIS CISSNA, is the Director of the United
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     States Citizenship and Immigration Services (USCIS), the agency within the
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     Department of Homeland Security which processes Forms I-130. He resides for
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11   official purposes in the District of Columbia.

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           7. The defendant, MARK HAZUDA, is the Director of the USCIS’s
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     Nebraska Service Center where Gagan Jyoti Jindal’s Forms I-130 is currently

15   pending, and has immediate responsibility for its processing. He resides for official
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     purposes in the State of Nebraska.
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                     BRIEF STATEMENT OF RELEVANT FACTS
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21          8. On May 12, 2015, A I-130 was filed by Gagan Jyoti Jindal on behalf of
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     his wife, Mani Gagan Jindal, which was approved by the United States Citizenship
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     and Immigration Services on October 16, 2105.
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25   Its File Numbers are LIN 1591079940 and AXXXXXXXX.


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1             9. His petition was then forwarded to the National Visa Center and his wife
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     was interviewed for an immigrant visa in India.
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              10. Sometime after thereafter Mr. Jindal’s immigrant visa petition was
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5    returned to the USCIS.
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              11. On August 23, 2017, the USCIS issued a Notice of Intent to Revoke this
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     I-130.
8

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              12. On September 25, 2017 the USCIS received the plaintiffs’ response to

10   that notice.
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              13. Since then, despite multiple inquiries upon their behalf, no further action
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     has been taken upon this application
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14            14. As of today, the instant Form I-130 remains under the jurisdiction of
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     MARK HAZUDA. Although it has been remained approved no action has been
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     taken to return it to the National Visa Center.
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20
                                            COUNT I
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              15. Defendant KEVIN K. MCALEENAN, Secretary of Homeland Security,
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24
     Defendant L. FRANCIS CISSNA, Director of the United States Citizenship and

25   Immigration Services, and Defendant MARK HAZUDA, Director of the United

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1    States Citizenship and Immigration Services’ Nebraska Service Center, are each
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     and all officers or employees of the United States and the Department of Homeland
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     Security.
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5          16. Defendant KEVIN K. MCALEENAN, Secretary of Homeland Security,
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     Defendant L. FRANCIS CISSNA, Director of the United States Citizenship and
7
     Immigration Services, and Defendant MARK HAZUDA, Director of the United
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9    States Citizenship and Immigration Services’ Nebraska Service Center, each and
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     all owe a duty to the Plaintiff Gagan Jyoti Jindal to process his Form I-130 within
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     a reasonable period of time. 5 U.S.C. § 555(b) ("With due regard for the
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     convenience and necessity of the parties or their representatives and within a

14   reasonable time, each agency shall proceed to conclude a matter presented to it.").
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           17. 18 U.S.C. § 1571(b) provides that: “It is the sense of Congress that the
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18   processing of an immigration benefit application should be completed not later

19   than 180 days after the initial filing of the application, except that a petition for a
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     nonimmigrant visa under section 214(c) of the Immigration and Nationality Act [8
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     USCS § 1184(c)] should be processed not later than 30 days after the filing of the
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23   petition.”

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1          18. Accordingly, the over 18 months since Mr. Jindal responded to the
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     Notice of Intent to Revoke his petition has been pending with Defendant KEVIN
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     K. MCALEENAN, Secretary of Homeland Security, Defendant L. FRANCIS
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5    CISSNA, Director of the United States Citizenship and Immigration Services, and
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     Defendant MARK HAZUDA, Director of the United States Citizenship and
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     Immigration Services’ Nebraska Service Center, well beyond the time which these
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     officers or employees reasonably require to take action in it.

10         19. This Court has authority under 28 U.S.C. § 1361 to compel an KEVIN
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     K. MCALEENAN, L. FRANCIS CISSNA, MARK HAZUDA to perform a duty
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     owed to the Plaintiffs.
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14         20. This Court also has authority under 5 U.S.C. § 706(1) to compel agency
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     action unlawfully withheld or unreasonably delayed.
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                                   RELIEF REQUESTED
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     WHEREFORE it is respectfully requested that the Court compel Defendants
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     KEVIN K. MCALEENAN, Secretary of Homeland Security, L. FRANCIS
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23   CISSNA, Director of the United States Citizenship and Immigration Services, and

24   MARK HAZUDA, Director of the United States Citizenship and Immigration
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1    Services’ Nebraska Service Center, to return Gagan Jyoti Jindal’s I-130 upon
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     behalf of the Mani Jindal to the National Visa Center forthwith.
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4    Respectfully submitted,
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     Dated:04/29/2019

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8
                                               s/ Michael E Piston
                                               Michael E Piston M10002
9
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